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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASENO.  23-cv-60378-WPD
LEONARDO SILVA OLIVEIRA,

Plaintiff,
vs.

CITY OF COCONUT CREEK, GREGORY
TONY, As Sheriff of Broward County,

FLORIDA DEPARTMENT OF CORRECTIONS,
and SGT. FRANCIS MCMANUS, PROBATION
OFFICER KATHY NORTON AND OTHER
OFFICERS, DEPUTIES and/or OTHER
EMPLOYEES, individually, —

Defendant.

_ MEDIATION DISPOSITION REPORT

In accordance with the Court's mediation order, a mediation conference was held

on March 17, 2025, and the results of that conference are indicated below:

(a) The following individuals, parties, corporate representatives, and/or claims professionals

attended and participated in the mediation conference and each possessed the requisite settlement authority:

_xX All individual parties and their respective trial counsel.

_xX_ Designated corporate representatives.

xX Required claims professionals.

(b) The following individuals, parties, corporate representatives and/or claims professionals

failed to appear and/or participate as ordered: NONE.
(c) The outcome of the mediation conference was:

x The case has been completely settled.

The _case has been partially resolved and counsel has been instructed to file a joint
stipulation regarding those claims/parties which have been resolved within ten (10) days.

The conference was continued with the consent of all parties and counsel. The mediation
conference will be held on a date certain not later than ten (10) days prior to the scheduled
trial date. Any continuance beyond that time must be approved by the presiding Judge.
Mediation Reports will be filed after additional conferences are complete.

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The parties have reached an impasse.
Done March 28, 2025, in Miami-Dade County, Florida.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on March 28, 2025, the foregoing was filed with the Clerk of Court
which sent notification to the following via e-mail: Michael Schutt, Esquire, schutt@thetrialfirm.com;
Joan Carlos Wizel, Esquire and Onier Llopiz, Esquire, jcw@I|-wfirm.com; ol@l-wfirm.com; gb@l- .
wfirm.com; admin@|-wfirm,com; op@L-wfirm.com: Christopher Whitelock, Esquire and Meredith

Chaiken, Esquire, ejw@whitelocklegal.com; mac@whitelocklegal.com; ark@whitelocklegal.com.

Ridardo J. Cata., Mediator

Mediator # 30040R

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